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                             IN THE UNITED STATES DISTRICT COURT

                                          FOR THE DISTRICT OF HAWAIi

                                                                             )     Case. No. CV 23-00565 JAO-BMK
COUNTY OF MAUI
                                                                             )
                                                                             )     ORDER GRANTING MOTION TO
                   Plaintiff,                                                )     APPEAR PRO HAC VICE AS TO
                                                                             )     Ed Diab
                          vs.                                                )
                                                                             )
MAUI ELECTRIC COMPANY , LIMITED et al.,
                                                                             )
                                                                             )
                   Defendant.                                                )
                                                                             )

                                             ORDER GRANTING MOTION
                                             TO APPEAR PRO RAC VICE

         The Court GRANTS the Motion of Ed Diab
                                                                                 - - - - - - - - - - - - to
  Appear Pro Hae Vice.

   Name of Attorney:                  Ed Diab

   FirmName:                          Diab Chambers LLP

   Firm Address:                      10089 Willow Creek Rd .,Suite 200, San Diego, CA 92131


   Attorney CM/ECF
   Primary email address: ed@dcfirm .com

   Firm Telephone:                    6 19.658.70 10

   Party Represented                  Plaintiff, COUNTY OF MAUI



         IT IS SO ORDERED.
         DATED: Honolulu, Hawaii, - -=Da....:e=c=em=b=e=r-"1=
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                                                                                   Bany M. Kurren
                                                                                             KmTen
                                                                                   United States Magistrate Judge
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